                                                                             1   Ray R. Brown
                                                                                 Molly C. Brown
                                                                             2   DILLON & FINDLEY, P.C.
                                                                                 1049 W. 5th Avenue, Suite 200
                                                                             3
                                                                                 Anchorage, Alaska 99501
                                                                             4   Phone: 277-5400
                                                                                 Fax:    277-9896
                                                                             5   Attorneys for Plaintiff

                                                                             6

                                                                             7
                                                                                                   IN THE UNITED STATES DISTRICT COURT
                                                                             8
                                                                                                 FOR THE DISTRICT OF ALASKA AT ANCHORAGE
                                                                             9

                                                                            10
                                 TEL. (907) 277-5400 · FAX (907) 277-9896




                                                                                 C. WALTER EBELL,              )
              DILLON & FINDLEY
                                    A PROFESSIONAL CORPORATION




                                                                            11                                 )
                                        1049 W. 5th Avenue, Suite 200




                                                                                                Plaintiff,     )
                                          Anchorage, Alaska 99501




                                                                            12                                 )
LAW OFFICES




                                                                                 vs.                           )
                                                                            13
                                                                                                               )
                                                                            14
                                                                                 ZURICH AMERICAN INSURANCE     )
                                                                                 COMPANY,                      )
                                                                            15                                 )
                                                                                                Defendant.     )
                                                                            16   ______________________________)         Case No. 3:13-cv-00200-RRB
                                                                            17                 JOINT NOTICE TO COURT REGARDING SETTLEMENT
                                                                            18
                                                                                       C. Walter Ebell and Zurich American Insurance Company, by
                                                                            19
                                                                                 and through undersigned counsel, and pursuant to this Court’s
                                                                            20
                                                                                 November 13, 2013 Text Order at Docket 14, hereby notify the
                                                                            21
                                                                                 Court that the parties have reached an agreement to settle the
                                                                            22

                                                                            23   claims in this case and have agreed on the terms of a written

                                                                            24   agreement memorializing the settlement.            The parties are in the

                                                                            25   process of obtaining the necessary signatures and will file a
                                                                            26
                                                                                 C. Walter Ebell v. Zurich American Insurance Co.
                                                                                 Case No. 3:13-cv-00200-RRB
                                                                                 JOINT NOTICE TO COURT REGARDING SETTLEMENT
                                                                                 Page 2 of
                                                                                   Case    2
                                                                                        3:13-cv-00200-RRB   Document 15 Filed 12/06/13   Page 1 of 2
                                                                             1   stipulation for dismissal soon thereafter.                 The parties will
                                                                             2   file a status report on January 3, 2014 if this matter is not
                                                                             3
                                                                                 sooner dismissed.
                                                                             4
                                                                                       DATED this 6th day of December 2013, at Anchorage, Alaska.
                                                                             5
                                                                                                               DILLON & FINDLEY, P.C.
                                                                             6                                 Attorneys for Plaintiff
                                                                             7
                                                                                                               By: s/Ray R. Brown
                                                                             8                                    Ray R. Brown, ABA No. 8206012
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                                                                            12
LAW OFFICES




                                                                                                               DAVIS WRIGHT TREMAINE, LLP
                                                                            13                                 Attorneys for Defendant
                                                                            14
                                                                                                               By: s/M. Scott Broadwell (by consent)
                                                                            15                                    M. Scott Broadwell, ABA No. 0611069
                                                                                                                  188 W. Northern Lights Blvd., #1100
                                                                            16                                    Anchorage, Alaska 99503
                                                                                                                  Phone: 257-5300
                                                                            17                                    Fax:    257-5399
                                                                                                                  Email: scottbroadwell@dwt.com
                                                                            18

                                                                            19

                                                                            20
                                                                                 CERTIFICATE OF SERVICE
                                                                            21
                                                                                 I hereby certify that on December 6,
                                                                            22   2013, a copy of the foregoing Joint
                                                                                 Notice to Court Regarding Settlement
                                                                            23   was served electronically on M. Scott
                                                                                 Broadwell.
                                                                            24

                                                                            25   s/Ray R. Brown

                                                                            26
                                                                                 C. Walter Ebell v. Zurich American Insurance Co.
                                                                                 Case No. 3:13-cv-00200-RRB
                                                                                 JOINT NOTICE TO COURT REGARDING SETTLEMENT
                                                                                 Page 2 of
                                                                                   Case    2
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